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 1   Christina L. Henry, WSBA# 31273                                The Honorable Thomas S. Zilly
     chenry@hdm-legal.com
 2   Henry & DeGraaff, PS
     150 Nickerson St, Ste. 311
 3   Seattle, WA 98109
     Tel# 206-330-0595
 4   Fax: +1-206-400-7609
 5

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 7

 8                               UNITED STATES DISTRICT COURT

 9                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

10   THE BANK OF NEW YORK MELLON AS
     TRUSTEE FOR THE BENEFIT OF THE      Case No.: 2:18-cv-00764-TSZ
11   CERTIFICATE HOLDERS OF THE CWABS,
     INC., ASSET-BACKED CERTIFICATES,
12   SERIES 2007-SD1 FKA THE BANK OF NEW MOTION TO DISMISS UNDER
     YORK,                               FED. R. CIV. P 12(B)(6)
13
                 Plaintiff,
14
                   v.
15                                                        NOTED ON MOTION CALENDAR
     KAREN D. SMITH, an individual; and all other August 31, 2018
16   persons, parties, or occupants unknown
     claiming any legal or equitable right, title,
17   estate, lien, or interest in the real property
     described in the complaint herein, adverse to
18   Plaintiff’s title, or any cloud on Plaintiff’s title
     to the Property, collectively designated as
19   DOES 1 through 50, inclusive,

20                 Defendant.

21          Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Karen D. Smith and

22   other nonexistent Doe defendants (“Smith”) move for an order dismissing with prejudice the

23   complaint of foreclosure filed by the Bank of New York Mellon as Trustee for the Benefit of the

24   Certificate Holders of the CWABS, Inc., Asset-Backed Certificates, Series 2007-SD1, fka The

25   Bank Of New York (“BONY”).

26

      MOTION TO DISMISS UNDER FED. R. CIV. P                      HENRY & DEGRAAFF, P.S.
      12(B)(6)NOTED ON MOTION                                      150 NICKERSON ST. STE 311
                                                                  SEATTLE, WASHINGTON 98109
      CALENDARAUGUST 31, 2018 - 1                                    telephone (206) 330-0595
                                                                         fax (206) 400-7609
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 1                                             I.      FACTS

 2          A.       Loan and Default

 3          Smith received $356,250.00 for a mortgage loan (“Loan”) on February 9, 2007. BONY

 4   Compl. ¶ 4. Smith also executed and delivered as part of the same transaction a Promissory Note

 5   (“Note”) secured by Deed of Trust against certain real property known as 819 21st Ave, Seattle,

 6   WA 98122 (“Property”). BONY Compl. ¶¶ 5-6. The Loan was payable in monthly installments

 7   with a maturity date of March 1, 2037. See BONY Compl. ¶¶ 7. Smith stopped paying her

 8   mortgage on July 1, 2007 and failed to pay every installment payment thereafter. BONY Compl.
 9   ¶ 9.
10          B.       The Bankruptcy
11          Smith filed for bankruptcy on September 5, 2007, in the U.S. Bankruptcy Court for the
12   Western District of Washington at Seattle, under cause No. 08−13473-PHB. Request for Judicial
13   Notice (“RJN”), Ex. 1, 2. The Property was listed on Schedule A and the mortgage obligation
14   was listed under Schedule D of Smith’s bankruptcy petition. RJN, Ex. 3. Plaintiff acknowledged
15   the bankruptcy through the filing of a motion for relief from stay filed on BONY’s behalf by its
16   servicer Countrywide Home Loans Servicing, LP. RJN, Ex. 4, 5 and 6. Smith was granted a
17   discharge of debts, including the mortgage obligation on the Property, under 11 U.S.C. §727 on
18   September 11, 2009. RJN, Ex. 7.

19                  II.    STANDARD OF REVIEW FOR MOTION TO DISMISS

20          A.       Fed. R. Civ. P. 12(b)(6) Motions to Dismiss

21          In ruling on the defendants’ motion to dismiss under Rule 12(b)(6), this Court analyzes

22   the complaint and takes all allegations of material fact as true and construe[s] them in the light

23   most favorable to the non-moving party. Parks Sch. of Bus. v. Symington, 51 F.3d 1480, 1484

24   (9th Cir. 1995). Dismissal is appropriate when the complaint does not give the defendant fair

25   notice of a legally cognizable claim and the grounds on which it rests. Bell Atl. Corp. v.

26   Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). In considering whether

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                                                                             fax (206) 400-7609
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 1   the complaint is sufficient to state a claim, the court will take all material allegations as true and

 2   construe them in the light most favorable to the plaintiff. NL Indus., Inc. v. Kaplan, 792 F.2d

 3   896, 898 (9th Cir. 1986); Barker v. Riverside County Office of Educ., 584 F.3d 821, 824 (9th Cir.

 4   2009). Additionally, when evaluating the adequacy of a complaint, the court may consider facts

 5   outside of the pleading that are subject to judicial notice—such as public documents if their

 6   authenticity cannot be reasonably disputed—without converting a motion to dismiss into a

 7   motion for summary judgment. Estate of Blue v. County of Los Angeles, 120 F.3d 982, 984 (9th

 8   Cir. 1997) (resolving a statute of limitations question on a motion to dismiss, although it requires
 9   taking judicial notice of documents filed in other cases).
10

11                                  III.   LAW AND ARGUMENT
             A.     The Plaintiff’s Claim for Judicial Foreclosure is Time-Barred; the Last Day
12           to Enforce the Loan by Foreclosure was September 11, 2015.
13           The discharge of a borrower’s personal liability on a loan through bankruptcy—which in
14   this case occurred on September 11, 2009, the date Smith received her discharge—is analogous
15   to a promissory note’s maturation. Jarvis v. Fed. Nat’l Mortg. Ass’n, No. C16-5194-RBL at *3,
16   2017 WL 1438040 (W.D. Wash. Apr. 24, 2017), aff’d mem., 726 Fed.App’x. 666 (9th Cir.
17   2018). Under Washington law a lender has six years from the date of such a discharge of
18   personal liability to enforce its deed of trust. RCW 4.16.040. BONY’s current effort to foreclose
19   judicially is taken after the statute of limitations had expired.
20           RCW 4.16.040 provides that “[a]n action upon a contract in writing” must be
21   “commenced within six years.” See Edmundson v. Bank of Am., 194 Wn. App 920, 927 (Ct. App.
22   2016). When the statute of limitations on the right to enforce a promissory note expires, the right
23   to enforce a deed of trust securing the note also expires. Walcker v. Benson and McLaughlin,
24   P.S., 79 Wn. App. 739, 740-41, 904 P.2d 1176 (Ct. App. 1995). “[T]he statute of limitations runs
25   against each installment from the time it becomes due; that is, from the time when an action
26   might be brought to recover it.” Edmundson, 378 P.3d at 277 (quoting Herzog v. Herzog, 161

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      CALENDARAUGUST 31, 2018 - 3                                           telephone (206) 330-0595
                                                                                fax (206) 400-7609
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 1   P.2d 142, 144–45, 23 Wn.2d 382 (1945)). The final six-year period to foreclose runs from the

 2   time the final installment becomes due. See 4518 S. 256th, LLC v. Karen L. Gibbon, P.S., 382

 3   P.3d 1, 6 (Wash. Ct. App. 2016). This occurs upon the last installment due before discharge of

 4   the borrower’s personal liability on the associated note. See Edmundson, 378 P.3d at 278.

 5          In the present case, installment payments were due until Ms. Smith received her

 6   discharge on September 11, 2009. The discharge eliminated the personal liability of Ms. Smith

 7   the Note, leaving only the in rem right to enforce the Note. See Johnson v. Home State Bank, 501

 8   U.S. 78, 82–84 (1991) (concluding that the debtor’s in personam obligation under a mortgage,
 9   but not the in rem obligation, was discharged pursuant to a Chapter 7 petition and that, in
10   addition, the remaining in rem property interest was a “claim” under the broad definition in the
11   Bankruptcy Code subject to inclusion in a subsequent Chapter 13 reorganization plan).
12          Smith never made any further payments on the note after her bankruptcy. The statute of
13   limitations to foreclose on the deed of trust ran from the last installment due before Ms. Smith’s
14   bankruptcy discharge in September 2009 and expired before the judicial complaint was filed. As
15   such, actions to foreclose are now barred under the statute of limitations.
16          B.       Dismissal Should Be With Prejudice
17          A complaint should be dismissed with prejudice when repleading would be futile and it is

18   it is clear on de novo review that the complaint could not be saved by amendment. Eminence

19   Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir 2003). Here, dismissal with prejudice

20   is appropriate because any attempt by BONY to amend the complaint would be futile. As

21   discussed above, BONY’s contention that they can maintain a judicial foreclosure is without

22   merit. The installment loans expired on September 11, 2009 and it has been more than six years

23   since that time.

24                                        IV.     CONCLUSION

25          For the foregoing reasons, Defendant respectfully requests that the Court dismiss the

26   Plaintiff’s foreclosure Complaint and grant judgment in favor of Defendant Karen D. Smith

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 1   pursuant to Fed. R.Civ. P. 12(b)(6). Further, because the any amendment would be futile because

 2   dismissal is based on matters of law, and not fact, Defendant requests dismissal of the complaint

 3   with prejudice.

 4          Dated this 7th of August, 2018.
                                                     /s/ Christina L. Henry______________
 5                                                   Christina L Henry, WSBA# 31273
                                                     Henry & DeGraaff, PS
 6                                                   150 Nickerson St, Ste 311
                                                     Seattle, WA 98109
 7                                                   Tel# 206-330-0595
                                                     Fax@ +1-206-400-7609
 8                                                   chenry@hdm-legal.com
 9                                                   /s/ V. Omar Barraza______________
                                                     V. Omar Barraza, WSBA# 43589
10                                                   Barraza Law, PLLC
                                                     14245 Ambaum Blvd SW
11                                                   Burien, WA 98166
                                                     Tel# 206-933-7861
12                                                   Fax@ 206-933-7863
                                                     omar@barraazalaw.com
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 1                                 V.      CERTIFICATE OF SERVICE

 2          I certify that I served a copy of the foregoing document to be filed with the Clerk of the

 3   Court via CM/ECF system. Pursuant to their ECF agreement, the Clerk will give notice of this

 4   filing to all counsel of record via email.

 5          I declare under penalty of perjury under the laws of the United States of America that the

 6   foregoing is true and correct.

 7          Signed August 7, 2018 at Seattle, Washington.

 8
                                            _s/ Christina L Henry________________
 9                                          Christina L Henry
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                                                                           fax (206) 400-7609
